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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )       Case No. 5:21-CR-50014-TLB
v.                                            )
                                              )
JOSHUA JAMES DUGGAR,                          )
                                              )
       Defendant.                             )

                                     NOTICE OF APPEAL

       Notice is hereby given that Joshua James Duggar (“Duggar”), the defendant in the above-

captioned case, hereby appeals to the United States Court of Appeals for the Eighth Circuit from

this Court’s Judgment in a Criminal Case entered May 27, 2022, reflecting a conviction on Count

One and a sentence for Count One. (Doc. 162). Count Two was dismissed by the United States

District Court for the Western District of Arkansas on May 25, 2022. (See Doc. 159).

       Duggar respectfully provides notice of his intent to evaluate and pursue any and all

meritorious arguments in his appeal to the United States Court of Appeals for the Eighth Circuit.

       This Notice is timely as it is being filed within fourteen days after the entry of the judgment

being appealed: the judgment of conviction (Doc. 162). See Federal Rule of Appellate Procedure

4. This Notice is being filed by Duggar’s trial counsel, Justin K. Gelfand, Ian. T. Murphy, and

Travis W. Story, each of whom is admitted to practice before the United States Court of Appeals

for the Eighth Circuit, on Duggar’s behalf and pursuant to Duggar’s request. Undersigned counsel

intend to represent Duggar on appeal.
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                                  Respectfully submitted,

                                  Margulis Gelfand, LLC

                                  /s/ Justin K. Gelfand
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                                  --and—

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                                      Certificate of Service

      I hereby certify that I filed the foregoing through the Court’s CM/ECF system which will

provide notice of filing to all counsel of record.


                                                /s/ Justin K. Gelfand
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